Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 1 of 23




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  VICTOR ARIZA,

         Plaintiff,

  vs.

  LE CHOCOLATIER OF FLORIDA, INC.,
  a Florida for-profit corporation,

        Defendant.
  ______________________________________/

                                           COMPLAINT

         Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant LE

  CHOCOLATIER OF FLORIDA, INC., a Florida for-profit corporation, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This further is an action for declaratory and injunctive relief, damages, attorney’s fees,

  costs, and expenses for lawful discrimination in violation of the Rehabilitation Act of 1973, 29

  U.S.C. §794, et seq. (“Rehab Act”).

        2.       This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331 and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 2 of 23




         4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

  and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”).

         5.      Plaintiff is and at all relevant times has been visually disabled in that he suffers

  from optical nerve atrophy, a permanent eye disease and medical condition that substantially and

  significantly impairs his vision and limits his ability to see. Plaintiff thus is substantially limited

  in performing one or more major life activities, including, but not limited to, sight, accurately

  visualizing his world, and adequately traversing obstacles. As such, he is a member of a protected

  class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth

  at 28 CFR §§36.101, et seq., and in 42 U.S.C. §3602(h).

         6.      Because he is blind and visually disabled, Plaintiff cannot use his computer without

  the assistance of appropriate and available screen reader software. Screen reader software

  translates the visual internet into an auditory equivalent. At a rapid pace, the software reads the

  content of a webpage to the user. “The screen reading software uses auditory cues to allow a

  visually impaired user to effectively use websites. For example, when using the visual internet, a

  seeing user learns that a link may be ‘clicked,’ which will bring her to another webpage, through

  visual cues, such as a change in the color of the text (often text is turned from black to blue). When

  the sighted user's cursor hovers over the link, it changes from an arrow symbol to a hand. The

  screen reading software uses auditory—rather than visual—cues to relay this same information.

  When a sight impaired individual reaches a link that may be ‘clicked on,’ the software reads the

  link to the user, and after reading the text of the link says the word ‘clickable.’…Through a series

  of auditory cues read aloud by the screen reader, the visually impaired user can navigate a website




                                                    2
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 3 of 23




  by listening and responding with her keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767,

  2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a Florida for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls a retail, artisan

  handmade chocolate store that Plaintiff had patronized, and intended to patronize in the future,

  located in North Miami Beach, Florida. Defendant also owns, leases, leases to, or operates a

  business in Miami-Dade County, Florida that is the recipient of federal financial assistance as a

  whole within the meaning of Rehab Act, 29 U.S.C. §794(b)(3)(A)(i). See attached Exhibit “A”.

         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet.      Because he is significantly and

  permanently blind and visually disabled, to effectively communicate and comprehend information

  available on the internet and thereby access and comprehend websites, Plaintiff uses commercially

  available screen reader software to interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls a retail, handmade chocolates store under the name “Le Chocolatier”,

  which is open to the public. As the owner, operator, and controller of this store, Defendant is

  defined as a place of “public accommodation" within meaning of Title III because Defendant is a

  private entity which owns and/or operates “[A] bakery, grocery restaurants, clothing restaurants,

  hardware restaurants, shopping center, or other sales or rental establishment,” per 42 U.S.C.

  §12181(7) (E) and 28 C.F.R. §36.104(2).




                                                   3
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 4 of 23




         11.     Because Defendant is a retail store open to the public, it is a place of public

  accommodation subject to the requirements of Title III of the ADA and its implementing

  regulation; 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant     controls,   maintains,    and/or   operates    an   adjunct    website,

  https://www.lechocolatier.com (hereinafter the “Website”). One of the functions of the Website is

  to provide the public information on Defendant’s store that sell its artisan chocolate products

  nationwide and within the State of Florida. Defendant also sells to the public its artisan chocolate

  products from its store through the Website, which thus acts as a point of sale for the purchase of

  products through and from Defendant’s physical store.

         13.     The Website also services Defendant’s physical store by providing information on

  its available chocolate products, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to locate Defendant’s physical

  store, purchase products that are also available for purchase from the physical store, and sign up

  for an electronic emailer to receive exclusive offers, benefits, invitations, and discounts for use

  online and in the physical store, the Website is an extension of, gateway to, and necessary service,

  privilege, and advantage of Defendant’s physical store, which is a place of public accommodation

  under the ADA. As an extension of and necessary service, privilege, and advantage provided by

  a place of public accommodation as defined under the ADA, the Website is an extension of the

  services, privileges, and advantages made available to the general public by Defendant at and

  through its brick-and-mortar location and business. Furthermore, the Website is a necessary

  service and privilege of Defendant’s physical store in that, as a point of sale for products made and




                                                   4
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 5 of 23




  sold in Defendant’s store, it enables users of the Website to make online purchases of Defendant’s

  products that are available through and from its physical store.

         15.     Because the public can view and purchase Defendant’s products through the

  Website that is made and also offered for sale in Defendant’s physical store, thus having the

  Website act as a point of sale for Defendant’s products sold from, in, and through its physical store,

  and sign up for an electronic emailer to receive exclusive online offers, benefits, invitations, and

  discounts for use online and in the physical store, the Website is an extension of, gateway to, and

  necessary service, privilege, and advantage of the physical store, which is a place of public

  accommodation under the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is a necessary

  service, privilege, and advantage of Defendant’s brick and mortar store that must comply with all

  requirements of the ADA, must not discriminate against individuals with visual disabilities, and

  must not deny those individuals the same full and equal access to and enjoyment of the goods,

  services, privileges, and advantages afforded the non-visually disabled general public both online

  and in the physical store.

         16.     Since the Website is open to the public through the internet and is connected to

  Defendant’s physical store as a point of sale of products made in and for sale in Defendant’s

  physical store, the Website is a necessary service, privilege, and advantage of Defendant’s brick

  and mortar store that must comply with all requirements of the ADA, must not discriminate against

  individuals with visual disabilities, and must not deny those individuals the full and equal access

  to and enjoyment of the goods, services, privileges, and advantages afforded the non-visually

  disabled public both online and in the physical store. As such, Defendant has subjected itself and

  the Website to the requirements of the ADA. In addition, as a recipient of federal financial

  assistance to the company as a whole, Defendant has subjected itself and all of its operations,



                                                    5
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 6 of 23




  programs, and activities, including its Website, to the requirements, prohibitions, and anti-

  discrimination provisions of the Rehab Act.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers described herein are removed or

  remedied, Defendant’s physical establishments and to purchase merchandise and gift cards and

  sign up for an electronic emailer to receive exclusive offers, benefits, invitations, and discounts

  for use on the Website or in the physical establishments.

         18.     The opportunity to shop and pre-shop Defendant’s artisan chocolates and related

  products and sign up for an electronic emailer to receive exclusive offers, benefits, invitations, and

  discounts for use in the physical store from his home are important and necessary accommodations

  for Plaintiff because traveling outside of his home as a blind and visually disabled individual is

  often a difficult, hazardous, frightening, frustrating and confusing experience. Defendant has not

  provided its business information in any other digital format that is accessible for use by blind and

  visually disabled individuals using screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his visits, and to compare products, prices, sales, discounts, and promotions. Plaintiff may look at

  several dozens of websites to compare products, features, discounts, promotions, and prices.

         20.     During the month of May 20, 2021, Plaintiff attempted on a number of occasions

  to utilize the Website to browse through the products being offered and to educate himself as to

  Defendant’s products, sales, discounts, and promotions, to learn about the brick-and-mortar store

  and check store hours, and to check product pricing with the intention of making a purchase

  through the Website or at the physical store.




                                                    6
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 7 of 23




         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

                 a. Phone number lacks description;

                 b. Return to home page button is mislabeled;

                 c. Submenu is inaccessible when navigating with a keyboard; and

                 d. Product prices and details are not labeled.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow blind and visually disabled individuals who use screen reader software to locate and

  accurately fill out online forms to purchase Defendant’s products through the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties navigating and communicating

  with, the Website. However, Plaintiff was unable to do so because no such link or notice,

  statement, or policy existed on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded as he is unable to participate in the same online computer shopping experience,

  with the same access to the products, sales, discounts, and promotions as provided at the Website

  and in the physical store as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical store and to use the Website to make



                                                   7
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 8 of 23




  purchases, but he is unable to fully do so as he is unable to effectively communicate with Defendant

  due to his severe blindness and the Website’s access barriers. Thus, Plaintiff, as well as others

  who are blind and with visual disabilities, will suffer continuous and ongoing harm from

  Defendant’s intentional acts, omissions, policies, and practices as set forth herein unless properly

  enjoined by this Court.

          26.     Because the Website clearly provides support for and is directly connected with

  Defendant’s retail store for its operation and use, and thus is a necessary extension, service,

  privilege, and advantage of Defendant’s brick and mortar store for the purchase of Defendant’s

  products from the store, the Website must comply with all requirements of the ADA, must not

  discriminate against individuals with disabilities, and must not deny those individuals the same

  full and equal access to and enjoyment of the goods, services, privileges, and advantages as are

  afforded the non-visually disabled public both online and in the physical store, which is a place of

  public accommodation subject to the requirements of the ADA. In addition, because Defendant is

  a recipient of federal funds to the company as a whole, Defendant and all of its operations,

  including but not limited to the Website, are also subject to the requirements of the Rehab Act and

  must not discriminate against qualified or otherwise qualified individuals with visual disabilities

  such as Plaintiff in all of its “programs and activities”.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.




                                                     8
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 9 of 23




          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the blind and visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled or blind community.

          36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.

          37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to blind and visually disabled individuals who want

  the safety and privacy of purchasing Defendant’s merchandise offered on the Website online from

  their homes.



                                                   9
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 10 of 23




         38.     Thus, Defendant has not provided full and equal access to and enjoyment of the

  goods, services, facilities, privileges, advantages, accommodations, programs and activities

  provided by and through the Website in contravention of the ADA and the Rehab Act.

         39.     Further, public accommodations under the ADA must ensure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act,

  public accommodations and companies that receive federal financial assistance as a whole must

  not discriminate against disabled persons and are required to make the facilities, programs, and

  activities they operate fully and readily accessible to persons with disabilities.

         40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping and e-commerce websites of public accommodations,

  such as the Website. In addition, Congress enacted the Rehab Act to enforce the policy of the

  United States that all programs, projects and activities receiving federal assistance “... be carried

  out in a manner consistent with the principles of ... inclusion, integration and full participation of

  the individuals [with disabilities]." 29 U.S.C. §701(c)(3).

         41.     Defendant presently is, and at all relevant times has been, aware of the barriers to

  effective communication within the Website that prevent individuals with visual disabilities from

  the means to comprehend information presented therein.

         42.     Defendant presently is, and at all relevant times has been, aware of the need to

  provide full access to all visitors to the Website.

         43.      The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities such as Plaintiff.



                                                    10
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 11 of 23




         44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its Website access and operation.

         45.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

         46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

  pursuant to 28 U.S.C. §§2201 and 2202.

         47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                             COUNT I – VIOLATION OF THE ADA

         48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

         49.     Pursuant to 42 U.S.C. §12181(7) (E), Defendant is a public accommodation under

  the ADA as defined within §12181(7) (E) and is subject to the ADA.

         50.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate Defendant’s physical store, acts as

  a point of sale for products made in and available from Defendant’s physical store, and allows

  visitors to sign up for an electronic emailer to receive exclusive offers, benefits, invitations, and

  discounts for use online and in the physical stores. The Website thus is an extension of, gateway

  to, and necessary service, privilege, and advantage of Defendant’s physical store, which Plaintiff

  intends to patronize. Further, the Website also serves to augment Defendant’s physical store by

  providing the public information about the store and by educating the public as to Defendant’s

  available products sold through the Website and in the physical store. The Website thus is



                                                   11
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 12 of 23




  necessary for Plaintiff to fully communicate with, enjoy, and have access to all of the goods,

  services, privileges, and advantages being offered by Defendant in the physical store.

         51.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         52.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         53.     In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         54.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         55.     Because of the inaccessibility of the Website, individuals with disabilities who are

  blind and visually disabled are denied full and equal enjoyment of the goods, information, and



                                                   12
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 13 of 23




  services that Defendant has made available to the public on its Website and in its physical stores

  in violation of 42 U.S.C. §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.

          56.     The Website was subsequently visited by Plaintiff’s expert in May 2021, and the

  expert determination was that the same access barriers that Plaintiff had initially encountered, as

  well as numerous additional access barriers, existed. Defendant has made insufficient material

  changes or improvements to the Website to enable its full use, enjoyment, and accessibility by

  blind and visually disabled persons such as Plaintiff. Defendant also has not disclosed to the public

  any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to blind and

  visually disabled individuals, nor has Defendant posted on the Website an effective “accessibility”

  notice, statement, or policy to provide blind and visually disabled persons a viable alternative

  means to quickly, fully, and effectively access and navigate the Website. Defendant thus has failed

  to make reasonable modifications in its policies, practices, or procedures when such modifications

  are necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective

  “accessibility” notice, policy, or statement and the numerous access barriers as set forth in the

  Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite Exhibit “A” and

  the contents of which are incorporated herein by reference, continue to render the Website not

  fully accessible to users who are blind and visually disabled, including Plaintiff.

          57.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

          58.     Further, the Website does not offer or include the universal symbol for the disabled

  that would permit disabled individuals to access the Website’s accessibility information and

  accessibility facts.



                                                   13
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 14 of 23




         59.     There are readily available, well-established guidelines on the internet for making

  websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics, and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

         60.     Defendant has violated the ADA – and continues to violate the ADA – by denying

  access to the Website by individuals with visual disabilities such as Plaintiff who require the

  assistance of interface with screen reader software to comprehend and access internet websites.

  These violations within the Website are ongoing.

         61.     The ADA requires that public accommodations and places of public

  accommodation ensure that their communication is effective.

         62.     According to 28 C.F.R. §36.303(b) (1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems.” Indeed, 28 C.F.R. §36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

         63.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c) (1) (ii).




                                                   14
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 15 of 23




         64.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         65.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         66.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website that is a necessary extension, service, privilege, and advantage of, and critical

  point of sale for, Defendant’s brick and mortar store, Plaintiff has suffered an injury in fact by

  being denied full access to and enjoyment of Defendant’s physical store.

         67.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. § 12133 and 28 C.F.R. § 36.303 to remedy the

  ongoing disability discrimination.

         68.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with visual disabilities have full and equal enjoyment of the

  services, facilities, privileges, advantages, and accommodations through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being readily accessible, provide an alternative method for individuals with visual



                                                   15
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 16 of 23




  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical store and becoming informed of and purchasing

  Defendant’s products online, and during that time period prior to the Website’s being designed to

  permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website from the physical store.

         69.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

               to monitor and update the Website on an ongoing basis, to remove barriers in order that

               individuals with visual disabilities can access, and continue to access, the Website and

               effectively communicate with the Website to the full extent required by Title III of the

               ADA;




                                                   16
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 17 of 23




        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo 1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform




                                                17
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 18 of 23




                  all web content and services with ADA accessibility requirements and applicable

                  accessibility guidelines;

            I. An Order directing Defendant, by a date certain and at least once every three months

                  thereafter, to conduct automated accessibility tests of the Website to identify any

                  instances where the Website is no longer in conformance with the accessibility

                  requirements of the ADA and any applicable accessibility guidelines, and further

                  directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                  counsel for review;

            J. An Order directing Defendant, by a date certain, to make publicly available and directly

                  link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                  ensure the persons with disabilities have full and equal enjoyment of the Website and

                  shall accompany the public policy statement with an accessible means of submitting

                  accessibility questions and problems;

            K. An award to Plaintiff of his reasonable attorney’s fees, costs, and expenses; and

            L. Such other and further relief as the Court deems just and equitable.

                     COUNT II – VIOLATION OF THE REHABILITATION ACT

            70.      Plaintiff re-alleges paragraphs 1 through 47 and 56 through 59 as if set forth fully

  herein.

            71.      As more specifically set forth above, Defendant has violated the Rehab Act by

  failing to interface the Website with software utilized by blind and visually impaired individuals.

  Thus, Defendant has violated the following provisions either directly or through contractual,

  licensing, or other arrangements with respect to Plaintiff and other similarly situated individuals

  solely by reason of their disability:



                                                      18
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 19 of 23




          a)      By excluding Plaintiff from participation in and denying him the benefits of or

  subjecting him to discrimination under any program or activity receiving federal financial

  assistance as a whole, Defendant has violated the Rehab Act;

          b)      Congress enacted the Rehab Act to enforce the policy of the United States that all

  programs, projects and activities receiving federal assistance “…be carried out in a manner

  consistent with the principles of…inclusion, integration and full participation of the individuals

  [with disabilities].” 29 U.S.C. Section 701 (c)(3);

          c)      Defendant is a recipient of federal financial assistance as a whole bringing it under

  the Rehab Act, which prohibits discrimination against qualified or otherwise qualified individuals

  in all of the recipient's "programs or activities";

          d)      Section 504 of the Rehab Act prohibits recipients of federal funding as a whole

  from discriminating against disabled persons and requires that their facilities, programs, and

  activities be readily accessible to persons with disabilities;

          e)      The Rehab Act defines "program or activity" as all of the operations of the entire

  corporation, partnership, or other private organization, or sole proprietorship that receives federal

  financial assistance as a whole. Defendant's Website and its content thus are a "program or activity"

  within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A);

          f)      Plaintiff was denied access to the Website solely by reason of his disability. This

  denial of access to Defendant's "program or activity" subjected Plaintiff to discrimination,

  excluded Plaintiff from participation in the program or activity, and denied Plaintiff the goods,

  benefits, and services of the Website, a service available to those persons who are not blind or

  visually disabled. As of this filing, the Website remains inaccessible to qualified or otherwise

  qualified persons with a visual disability such as Plaintiff;



                                                        19
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 20 of 23




         g)      The international website standards organization, WC3, has published widely

  accepted guidelines (WCAG 2.0 and WCAG 2.1 AA) for making digital content accessible to

  individuals with disabilities. These guidelines have been endorsed the United States Department

  of Justice and by Federal courts and the United States Access Board; and

         h)      Defendant has engaged in unlawful practices in violation of the Rehab Act in

  connection with the operation of the Website. These practices include, but are not limited to,

  denying Plaintiff, an individual with a disability who, with or without reasonable modifications to

  the rules, policies, or practices, the removal of communication barriers, or the provision of

  auxiliary aids and services, meets the essential eligibility requirements for the receipt of services

  to participate in programs or activities provided by Defendant.

         72.     Defendant has acted with deliberate indifference to the applicable provisions of the

  Rehab Act as to the unlawful practices described herein because Defendant is fully aware of the

  inaccessible features of its Website and has failed to remediate the Website to make it equally

  accessible to persons with visual disabilities. Defendant knew that harm to a federally protected

  right was substantially likely to occur, yet it failed to act on that likelihood when it failed to

  remediate its Website. Defendant knew this, and on information and belief, a person with authority

  with Defendant to order the remediation of the Website made a deliberate choice not to remediate

  and to continue to offer the inaccessible Website to its customers and potential customers knowing

  that the Website was, and continues to be, inaccessible to the blind and visually disabled.

         73.     Plaintiff would like to be a customer at Defendant's brick-and-mortar store but

  before he goes to the stores, he would like to determine what is available for his purchasing, what

  promotions are being offered, and what new items are currently available. In that regard, Plaintiff




                                                   20
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 21 of 23




  continues to attempt to utilize the Website and/or plans to continue to attempt to utilize the Website

  on a regular basis to make selections for purchasing online or in the store.

         74.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

  that it would be a futile gesture to attempt to utilize the Website as long as those violations exist

  unless he is willing to suffer additional discrimination.

         75.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

  result of the discriminatory conditions present at the Website. By continuing to operate the Website

  with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

  segregation and deprives Plaintiff the full and equal enjoyment of the benefits of the programs and

  activities available to the general public. By encountering the discriminatory conditions at

  Defendant's Website and knowing that it would be a futile gesture to attempt to utilize the Website

  unless he is willing to endure additional discrimination, Plaintiff is deprived of the meaningful

  choice of freely visiting and utilizing the same stores or the Website readily available to the general

  public and is deterred and discouraged from doing so. By maintaining the Website with access

  and Rehab Act violations, Defendant deprives Plaintiff the equal access to and participation in the

  benefits of Defendant’s programs and activities as the non-visually disabled public.

         76.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

  of Defendant's discrimination until the Defendant is compelled to comply with the requirements

  of the Rehab Act.

         77.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

  from the Defendant's non-compliance with the Rehab Act with respect to this Website as described

  above. Plaintiff has reasonable grounds to believe that he will continue to be subjected to

  discrimination in violation of the Rehab Act by Defendant. Plaintiff desires to access the Website



                                                    21
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 22 of 23




  to avail himself of the benefits therein and/or to assure himself that the Website is in compliance

  with the Rehab Act so that he and others similarly situated will have full and equal access to and

  enjoyment of the Website without fear of discrimination.

          78.     Plaintiff and all others similarly situated will continue to suffer such discrimination,

  injury, and damage without the immediate relief provided by the Rehab Act as requested herein.

          79.     Plaintiff is without adequate remedy at law and is suffering irreparable harm based

  on the facts alleged hereinabove.

          80.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

  fees, costs, and litigation expenses from the Defendant pursuant to the Rehab Act, 29 U.S.C. §794a.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

          A.      A declaration that determines that Defendant's Website at the commencement of

  the subject lawsuit is in violation of the Rehabilitation Act;

          B.      A declaration that Defendant's Website continues to be in violation of the

  Rehabilitation Act;

          C.      A declaration that Defendant has violated the Rehabilitation Act by failing to

  monitor and maintain its Website to ensure that it is readily accessible to and usable by persons

  with visual disabilities;

          D.      Issuance of an Order directing Defendant to alter its Website to make it accessible

  to, and useable by, individuals with visual disabilities to the full extent required by the

  Rehabilitation Act;




                                                    22
Case 1:21-cv-22934-PCH Document 1 Entered on FLSD Docket 08/12/2021 Page 23 of 23




         E.      Issuance of an Order directing Defendant to evaluate and neutralize its policies and

  procedures towards persons with disabilities for such reasonable time so as to allow Defendant to

  undertake and complete corrective and remedial procedures;

         F.      Issuance of an Order directing Defendant to continually update and maintain its

  Website to ensure that it remains fully accessible to and usable by visually disabled individuals;

         G.      Award Plaintiff his compensatory damages for Defendant’s intentional

  discrimination;

         H.      Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to 29

  U.S.C. §794a; and

  I.     Award such other relief as the Court deems just and proper, and/or is allowable under the

  Rehabilitation Act.

         DATED: August 12, 2021


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                                                  23
